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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 KIMBERLY KATORA BROWN, et
 al.
                                                                     Civil Action No: 13-569 (KBJ)
             Plaintiffs,

                      v.

 GOVERNMENT OF THE DISTRICT
 OF COLUMBIA

             Defendant

         CONSENT MOTION FOR LEAVE TO AMEND FIRST AMENDED
     COMPLAINT FOR MONEY DAMAGES AND INJUNCTIVE RELIEF AND
             DECLARATORY RELIEF WITH JURY DEMAND

         Plaintiffs Kimberly Brown, Ishebekka Beckford, Nickoya Hoyte, Kelly

Hughes, Takia Jenkins, Steven May, Romona Person, Dorian Urquhart, Shanita

Washington, Teneisha Williams, Jarrett Acey, Julius Gordon, Marilyn Langly,

David Littlepage and Terrence Thomas, Shane Lucas, Stephanie McRae respectfully

move1 this Court for leave to amend their First Amended Complaint [Document # 7]

and to file their Second Amended Complaint (attached hereto).


I.       PROCEDURL POSTURE



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          The ECF Help desk instructed undersigned counsel to file this as a motion rather than filing proof of written
consent followed by the Second Amended Complaint.

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       Plaintiffs filed their first amended complaint (by right) on 7/24/2013

[Document # 7]. The case is stayed until October 1, 2013. Minute Order docketed

8/27/2013. This case has not yet entered the litigation stage. In fact, still pending

are defendant’s related case notices and plaintiffs’ objections thereto.


II.    CONSENT SOUGHT AND OBTAINED


       Plaintiffs asked the District to consent to this motion and the District

consented in writing on the condition that the amended complaint not add claims or

expand the scope of the litigation and it was not plaintiffs’ intent to do either in their

Second Amended Complaint. District’s Motion to Stay [Document # 11] p. 2.


III.   STATEMENT OF FACTS


       Plaintiffs’ primary purpose in amending the complaint at this stage is to

clarify the factual basis of their claims, and restate the claims and the class

definitions. Overall plaintiffs’ purpose is to make their claims and proposed classes

easier to understand without adding claims or expanding the scope of the litigation.

As the D.C. Circuit has noted, “leave to amend is ordinarily in order” when a

plaintiff wishes to amend to clarify an imperfectly stated but valid claim. Alley v.

Resolution Trust Corp., 984 F.2d 1201, 1207 (D.C. Cir. 1993).


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      Plaintiffs’ second purpose is adding the following named plaintiffs: Muslimah

Taylor, Thomas Dutka and Ann Melton, Chiquata Steele, and Gregory Stewart.

Adding these plaintiffs does not add claims or expand the scope of the litigation.


IV.   JUSTICE REQUIRES GRANTING LEAVE TO AMEND THE

COMPLAINT


       Under Rule 15, plaintiffs may amend their pleading a second time anytime

before trial with the opposing party's written consent or the Court's leave. Fed. R.

Civ. P. 15(a)(2). The text of the rule itself provides that “leave shall be freely given

when justice so requires.” Fed. R. Civ. P. 15(a). Unless there is a specific,

significant reason to deny amendment, it should be granted:


      The Supreme Court has indicated the circumstances in which a court
      should deny leave to amend:

      In the absence of any apparent or declared reason—such as undue
      delay, bad faith or dilatory motive on the part of movant, repeated
      failure to cure deficiencies by amendments previously allowed, undue
      prejudice to the opposing party by virtue of allowance of the
      amendment, futility of the amendment, etc.—the leave sought should,
      as the rules require, be “freely given.”

Foman v. Davis, 371 U.S. 178, 182 (1962).




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      None of these reasons is present because plaintiffs merely wish to restate their

facts, claims, and class allegations prior to commencement of litigation in this case.

Alley v. Resolution Trust, 984 F.2d at 1207.


      First, the District consents.


      Second, the amendments would not unduly prejudice the District, by for

example, requiring the District to engage in additional discovery. See Atchinson v.

District of Columbia, 73 F.3d 418, 426 (D.C. Cir. 1996) (finding that a court should

give weight to “whether amendment of a complaint would require additional

discovery”).


      Third, there is no “undue delay.” Foman, 371 U.S. at 182. The case is stayed.


      Fourth, there is no “bad faith, or dilatory motive on the part of movant.”

Foman, 371 U.S. at 182.


      Fifth, there is no “repeated failure to cure deficiencies by amendments

previously allowed.” Id. at 182.


      Fifth, the amendment is not futile. The amendment assists the Court and

opposing counsel in understanding plaintiffs’ claims.


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V.   CONCLUSION.


     For the reasons stated above, the motion should be granted.


     Respectfully submitted,


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